Case 2:19-cv-07271-GRB-LGD Document 39-11 Filed 01/03/23 Page 1 of 5 PageID #: 295
Case 2:19-cv-07271-GRB-LGD Document 39-11 Filed 01/03/23 Page 2 of 5 PageID #: 296
Case 2:19-cv-07271-GRB-LGD Document 39-11 Filed 01/03/23 Page 3 of 5 PageID #: 297




                                  CONFIDENTIAL
Case 2:19-cv-07271-GRB-LGD Document 39-11 Filed 01/03/23 Page 4 of 5 PageID #: 298




                                  CONFIDENTIAL
Case 2:19-cv-07271-GRB-LGD Document 39-11 Filed 01/03/23 Page 5 of 5 PageID #: 299




                                  CONFIDENTIAL
